      Case 2:19-cv-01090-WBS-KJN Document 26 Filed 01/03/22 Page 1 of 1


DONALD CLOYCE WAGDA (CA SBN 257254)
547 Blackhawk Club Drive
Danville, California 94506
Telephone: (650) 644-7151
donald@wagdalaw.com

Pro Se Plaintiff and Qui Tam Relator




                             IN THE UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                                Case No. 2:19-cv-1090-WBS-KJN

ex rel. DONALD CLOYCE WAGDA,                             ORDER RE PLAINTIFF’S NOTICE OF
                                                         DISMISSAL PURSUANT TO FEDERAL
               Plaintiff,                                RULE OF CIVIL PROCEDURE 41(A)

                vs.

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY, a corporation, and

STATE FARM FIRE AND CASUALTY
COMPANY, a corporation, and

STATE FARM GENERAL INSURANCE
COMPANY, a corporation, and

STATE FARM LLOYDS, INC., a corporation, and

DOES 1-100, jointly and severally,

               Defendants.



       Having reviewed Plaintiff’s Notice of Dismissal Pursuant to Federal Rule of Civil Procedure

41(a) and the other files and records in this case, and the United States having no objection, it is hereby

ORDERED that this Action is dismissed, without prejudice, in its entirety.

       Dated: December 30, 2021



                                        ORDER RE NOTICE OF DISMISSAL                                          1
